Information to identify the case:
Debtor 1              James Michael Brolley                                        Social Security number or ITIN   xxx−xx−5179
                      First Name   Middle Name   Last Name                         EIN    _ _−_ _ _ _ _ _ _
Debtor 2                                                                           Social Security number or ITIN _ _ _ _
                      First Name   Middle Name   Last Name
(Spouse, if filing)
                                                                                   EIN    _ _−_ _ _ _ _ _ _
United States Bankruptcy Court Middle District of Pennsylvania

Case number: 5:18−bk−03421−RNO



Order of Discharge                                                                                                          12/15


IT IS ORDERED: A discharge under 11 U.S.C. § 727 is granted to:

           James Michael Brolley
           aka James Brolley, aka James M Brolley

                                                                          By the
                                                                          court:

           February 22, 2019
                                                                                          Honorable Robert N. Opel, II
                                                                                          United States Bankruptcy Judge

                                                                                          By: REshelman, Deputy Clerk


Explanation of Bankruptcy Discharge in a Chapter 7 Case

This order does not close or dismiss the case,                           This order does not prevent debtors from paying
and it does not determine how much money, if                             any debt voluntarily or from paying reaffirmed
any, the trustee will pay creditors.                                     debts according to the reaffirmation agreement.
                                                                         11 U.S.C. § 524(c), (f).
Creditors cannot collect discharged debts
This order means that no one may make any                                Most debts are discharged
attempt to collect a discharged debt from the                            Most debts are covered by the discharge, but not
debtors personally. For example, creditors                               all. Generally, a discharge removes the debtors'
cannot sue, garnish wages, assert a deficiency,                          personal liability for debts owed before the
or otherwise try to collect from the debtors                             debtors' bankruptcy case was filed.
personally on discharged debts. Creditors cannot
contact the debtors by mail, phone, or otherwise                         Also, if this case began under a different chapter
in any attempt to collect the debt personally.                           of the Bankruptcy Code and was later converted
Creditors who violate this order can be required                         to chapter 7, debts owed before the conversion
to pay debtors damages and attorney's fees.                              are discharged.

However, a creditor with a lien may enforce a                            In a case involving community property: Special
claim against the debtors' property subject to that                      rules protect certain community property owned
lien unless the lien was avoided or eliminated.                          by the debtor's spouse, even if that spouse did
For example, a creditor may have the right to                            not file a bankruptcy case.
foreclose a home mortgage or repossess an
automobile.

                                                                                         For more information, see page 2 >

Official Form 318                                            Order of Discharge                                 page 1

      Case 5:18-bk-03421-RNO                        Doc 57 Filed 02/22/19 Entered 02/22/19 14:38:54                    Desc
                                                     Discharge Ch 7 Page 1 of 2
Some debts are not discharged                             Also, debts covered by a valid reaffirmation
Examples of debts that are not discharged are:            agreement are not discharged.

     ♦ debts that are domestic support                    In addition, this discharge does not stop
       obligations;                                       creditors from collecting from anyone else who is
                                                          also liable on the debt, such as an insurance
                                                          company or a person who cosigned or
     ♦ debts for most student loans;                      guaranteed a loan.


     ♦ debts for most taxes;
                                                           This information is only a general summary
     ♦ debts that the bankruptcy court has                 of the bankruptcy discharge; some
       decided or will decide are not discharged           exceptions exist. Because the law is
       in this bankruptcy case;                            complicated, you should consult an
                                                           attorney to determine the exact effect of the
                                                           discharge in this case.
     ♦ debts for most fines, penalties,
       forfeitures, or criminal restitution
       obligations;


     ♦ some debts which the debtors did not
       properly list;


     ♦ debts for certain types of loans owed to
       pension, profit sharing, stock bonus, or
       retirement plans; and


     ♦ debts for death or personal injury caused
       by operating a vehicle while intoxicated.




Official Form 318                             Order of Discharge                           page 2

    Case 5:18-bk-03421-RNO            Doc 57 Filed 02/22/19 Entered 02/22/19 14:38:54            Desc
                                       Discharge Ch 7 Page 2 of 2
